Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 1 of 25 PagelD #: 26

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

JUL 232018 |

 

 

 

    

 

 

US DisTROTOOURT. WA)

CLINTON STRANGE, _DISTRICT OF DELAWARE \\
Plaintiff

18-1085
Vv.
MATHERNE HOLDINGS, INC.,
A Delaware Corporation
&
TODD MATHERNE,

President of Matherne Holdings, Inc.,
Defendants

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 2 of 25 PagelD #: 27

CIVIL ACTION:
FOR WILLFULL VIOLATIONS OF
THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
47 U.S.C. § 227

)
DEMAND FOR JURY TRIAL

)
Preliminary Statement:

This is an action brought by an adult individual consumer who is a natural
person against Defendant Matherne Holdings, Inc., and its President Todd
Matherne for willful violations of the Telephone Consumer Protection Act of 1991
(“TCPA”), under the following U.S. Federal Statutes:

47 U.S.C. § 227(c)(5)
&
47 U.S.C. § 227(b)(1)(a)(iii)

)
)
Jurisdiction of this court arises under:
47 U.S.C. § 227
)

Venue lies properly in this court:
Pursuant to 47 U.S.C. § 227(g)(4)
&
28 U.S.C. § 1391

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 3 of 25 PagelD #: 28

Parties:

Plaintiff Clinton Strange is an adult individual residing at 7021 Winburn Drive,
Greenwood, LA 71033

Defendant Matherne Holdings, Inc. is a Delaware Corporation which has a
principal place of business listed per the Defendant’s website as:

Matherne Holdings, Inc.
19266 Coastal Highway
Unit 4-1080
Rehoboth Beach, DE 19971
&

Who’s registered agent is listed according to the Delaware Division of
Corporations website is:

Harvard Business Services, Inc.
16192 Coastal Highway
Lewes, DE 19958

Defendant Todd Matherne is the President of Matherne Holdings, Inc. who on
information and belief resides at the address of:

Todd Matherne
412 Baptiste Circle
Houma, LA 70363

 

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 4 of 25 PagelD #: 29

Factual Allegations:

1. Plaintiff's wireless cellphone number 318-423-5057 has been registered
on the Federal do-not-call listing since 1-3-2018 See Exhibit A.

2. Plaintiff does not like to receive commercial solicitations and
advertisements from marketers / telemarketers in the form of phone calls
and text messages on his wireless cellphone because he regards them as
“an intrusion on his seclusion”, and “an invasion of privacy” which is
protected under the U.S. Constitution, and further [they] deplete
Plaintiffs memory storage capacity on his cellphone, deplete Plaintiffs
battery level on his cellphone, and require him to use a measurable
amount of mental and physical energy to review the contents of the
unwanted text spam messages. Plaintiff alleges that he has Article III
standing under the U.S. Constitution to sue Defendants for their alleged
conduct.

3. Plaintiff alleges that the Defendants sent Plaintiff 2 text messages to his
cellphone number 318-423-5057 within a 12-month period.

4, Plaintiff has no Established Business Relationship with Defendants.

5. Louisiana Senate Bill No. 233 (Act No.368) was signed into law by
sitting Governor John Bell Edwards.

6. Act No. 368 (Louisiana Senate Bill No. 233) will become effective 8-1-
2018. .

7. Louisiana Act No. 368 provides in relevant part under Section B. that:

B.(1) Notwithstanding any provision of law to the contrary, a party may
petition a court for a declaratory judgment that a clause in an agreement,
contract, settlement, or other similar instrument that prevents a party to the
instrument from disclosing factual information related to acts that if proven
would establish a cause of action for civil damages for any act that may be
prosecuted as a criminal offense is null, void, and unenforceable as a matter of

law and shall be considered against public policy.

8. Plaintiff and Defendants entered into a written agreement that was
executed within the State of Louisiana by both parties on April 24,2018
regarding previous TCPA violations, and the Agreement was subject to
Louisiana Laws.

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 5 of 25 PagelD #: 30

9. Defendant Matherne Holdings, Inc. operates a website EZautosaver.com

10. Defendant Todd Matherne is the President of Matherne Holdings, Inc.

11. Defendant Todd Matherne sent to Plaintiff in his role as president of
Matherne Holdings, Inc., or alternatively as himself as the email
originated from the Defendant ...” working out of his home” ... in an
email dated 4-20-2018 at 11:54am CDT admitted ...” the (1) text
message I sent you” .... (In regard to an SMS / MMS text message spam
Plaintiff received from Defendants on his cellphone number 318-423-
5057 on 3-29-2018) See Exhibit F.

12. Defendants sent another SMS / MMS Text Spam Message to Plaintiffs
cellphone Number 318-423-5057 after the conclusion of their settlement
(4-24-2018) on 6-26-2018 at 10:27am CDT from Long Code number
610-900-1267 which read in its entirety See Exhibit B:

“Clinton,

Car Insurance for just 23.00 per
Month in Greenwood, LA
Go-to
Auto-Ins-LessJ.us
Txt-6-to-end

13. More details about the text message that Plaintiff alleges that Defendants
sent him on 6-26-2018 can be found in the following Exhibits; See
Exhibits B and C. .

14. Defendants alleged text message sent On 6-26-2018 contained a
Hyperlink that directed Plaintiff to Defendants’ website ezautosaver.com
See Exhibits D and E.

15. Plaintiff could not envision a scenario that would include Defendants
allegedly [continuing to] text him after a settlement agreement had been
reached.

16.Defendant Todd Matherne is liable [to Plaintiff] along with his
corporation, as he is the President, for any and all alleged violations of
the TCPA if they were committed both willfully and knowingly by ‘a
Director or Officer of a Corporation’.

17. Plaintiff is not able to and therefore not seeking statutory damages in

regard to the text or texts that he alleges were received prior to 4-24-
2018.

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 6 of 25 PagelD #: 31

18. 47 U.S.C. § 227(c)(5) states in relevant part that:
(5)PRIVATE RIGHT OF ACTION A person who has received more than
one telephone call within any 12-month period by or on behalf of
the same entity in violation of the regulations prescribed under this
subsection may, if otherwise permitted by the laws or rules of court
of a State bring in an appropriate court of that State—
(A)
an action based on a violation of the regulations prescribed under this
subsection to enjoin such violation,
(B)
an action to recover for actual monetary loss from such a violation, or to
receive up to $500 in damages for each such violation, whichever is greater,
or
(C)

both such actions.

19. 47 U.S.C. § 227(b)(1)(a)(iii) states in relevant part that:

(b) RESTRICTIONS ON USE OF AUTOMATED TELEPHONE EQUIPMENT
(1)PROHIBITIONS It shall be unlawful for any person within
the United States, or any person outside the United States if the
recipient is within the United States—

(A)to make any call (other than a call made for emergency
purposes or made with the prior express consent of the called
party) using any automatic telephone dialing system or an artificial

or prerecorded voice—
(i)
to any emergency telephone line (including any “911” line and any
emergency line of a hospital, medical physician or service office, health
care facility, poison control center, or fire protection or law
enforcement agency);
(ii)
to the telephone line of any guest room or patient room of a
hospital, health care facility, elderly home, or similar establishment;
or
(iii)
to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other
radio common carrier service, or any service for which the called

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 7 of 25 PagelD #: 32

party is charged for the call, unless such call is made solely to
collect a debt owed to or guaranteed by the United States;

20. 47 U.S.C. § 227(e) states in relevant part that:

(E)Venue; service or process
(i) Venue

An action brought under subparagraph (A) shall be brought in a district
court of the United States that meets applicable requirements relating
to venue under section 1391 of title 28.

(ii)Service of process In an action brought under subparagraph
(A)— |
(T)
process may be served without regard to the territorial limits of the
district or of the State in which the action is instituted; and
(IT)
a person who participated in an alleged violation that is being litigated
in the civil action may be joined in the civil action without regard to
the residence of the person.

21. 47U.S.C. § 227(c)(5)(c) provides in relevant part that:

 

(C)
both such actions.

It shall be an affirmative defense in any action brought under this paragraph
that the defendant has established and implemented, with due care,
reasonable practices and procedures to effectively prevent telephone

solicitations in violation of the regulations prescribed under this subsection.
If the court finds that the defendant willfully or knowingly violated the
regulations prescribed under this subsection, the court may, in its discretion,
increase the amount of the award to an amount equal to not more than 3
times the amount available under subparagraph (B) of this paragraph.

22.Courts have previously upheld that Officers and Directors of Corporations
can be held personally liable for TCPA violations when they are committed
knowingly and willfully as Plaintiff alleges against Defendant Todd
Matherne who is President of Matherne Holdings, Inc. See Los Angeles
Lakers, Inc. y. Federal Insurance Company, 2:14-cv-07743, Central

District of California (2014).

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 8 of 25 PagelD #: 33

23.Courts have previously upheld that in other TCPA cases Jurisdiction and
Venue were proper in the District Court where Plaintiff is domiciled, and
that Directors and Officers were responsible for TCPA violations if they
were willful and knowing:

See Larry v. Doctors Answers, LLC, No. cv-12-S-3510-NE, 2013
WL 987879 (N.D. Ala. March 8, 2013

An Alabama Plaintiff sued New Jersey Defendants for violating the TCPA by
sending an unsolicited fax advertising material for answering services
provided by Defendant. Defendant filed a Motion to Dismiss challenging
Personal Jurisdiction, Venue and Plaintiff's ability to state a claim upon
which relief can be granted. The court denied the motion on all grounds.

With respect to Defendant’s challenge to the court’s personal jurisdiction,
the court recited the United States Supreme Court’s express
acknowledgement that “federal interest in regulating telemarketing to
protect the privacy of individuals while permitting legitimate commercial
practices’ ‘would be less well served if consumers had to rely on ‘the laws or
rules of court of a State’ or the accident of diversity jurisdiction, to gain
redress for TCPA violations.’ Thus, ‘federal courts [have] federal-
question jurisdiction over private TCPA suits.”

Addressing Defendants’ argument that venue was only proper in New
Jersey, the court concluded that “‘venue is proper in the district where
[plaintiff] resides because the injury did not occur’ when the facsimile was
sent from New Jersey, it occurred when ‘the [facsimile] was received in
Alabama,” declining to transfer the case for the convenience of the parties.

Finally, rejecting Defendants’ argument that they could not be personally
liable for alleged wrong doing of the company, the court noted “Tt]he fact
that the persons . . . acting [in violation of federal law] are acting for a
corporation also, of course, may make the corporation liable under the
doctrine of respondeat superior. It does not relieve the individuals of their
responsibility,” adding that “an officer may be personally liable under the
TCPA if he had direct, personal participation in or personally authorized the
conduct found to have violated the statute and was not merely tangentially
involved. Individuals who directly (and here, knowingly and willfully)
violate the TCPA should not escape liability solely because they are
corporate officers.”
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 9 of 25 PagelD #: 34

24. The TCPA was originally intended by congress to give private individuals
a private right of action against violators of the TCPA due to the inability
of the FTC and FCC to pursue alleged offenders due to the overwhelming
number of violations committed daily. In essence the U.S. Congress
intended to make of the U.S. Citizenry an army of Private Attorneys
General to curb TCPA violations with a large bounty for alleged
infractions of [its] statutes.

25. At all times pertinent hereto Defendant Matherne Holdings, Inc. was in
direct control of its President who is Defendant Todd Matherne.

26.At all times pertinent hereto Defendant Matherne Holdings, Inc. was
acting by and through their agents, servants and/ or employees who were
acting within the course and scope of their agency or employment, and
under the direct supervision and control of the Defendants herein.

27. At all times pertinent hereto, the conduct of the Defendants, as well as
that of their agents, servants, and/ or employees was intentional, willful,
reckless, and in grossly negligent disregard for Federal Laws and the
rights of the Plaintiff herein.

28. Plaintiff asserts that Defendants knew that the Plaintiff resided within
the Western District of Louisiana and that his cellphone would ‘chime’
within the Western District of Louisiana, and further that the intended
recipient which was the ‘called party’ Plaintiff Clinton Strange would be
within the Western District of Louisiana when the text spam was initiated
by Defendants; rendering any claims that Defendants knew not MOOT.

Count 1:

29. Plaintiff incorporates the following paragraphs as though the same were
set forth herein in length.

30. At all times pertinent hereto Defendant Todd Matherne was liable to the
Plaintiff for willful and knowing violations of the TCPA.

31. Defendant Todd Matherne as President of Matherne Holdings, Inc. is
liable to Plaintiff for a trebled violation of:

47 U.S.C. § 227(c)(5)

Count 2:
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 10 of 25 PagelD #: 35

32.Plaintiff incorporates the following paragraphs as though the same were
set forth herein in length.

33. At all times pertinent hereto Defendant Todd Matherne was liable to the
Plaintiff for willful and knowing violations of the TCPA.

34, Defendant Todd Matherne as President of Matherne Holdings, Inc. is
liable to Plaintiff for a trebled violation of:

47 U.S.C. § 227(b)(1)(a)(iii)

Count 3:

35.Plaintiff incorporates the following paragraphs as though the same were
set forth herein in length.

36. At all times pertinent hereto Defendant Matherne Holdings, Inc. was
liable to the Plaintiff for willful and knowing violations of the TCPA.

37. Defendant Matherne Holdings, Inc. is liable to Plaintiff for a trebled
violation of:

47 U.S.C. § 227(b)(1)(a)(iii)

Count 4:

38.Plaintiff incorporates the following paragraphs as though the same were
set forth herein in length.

39. At all times pertinent hereto Defendant Matherne Holdings, Inc. was
liable to the Plaintiff for willful and knowing violations of the TCPA.

40. Defendant Matherne Holdings, Inc. is liable to Plaintiff for a trebled
violation of:

47 U.S.C. § 227(c)(5)

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 11 of 25 PagelD #: 36

Jury Trial Demand;
Plaintiff demands trial by jury on all issues so triable.

)
)

Prayer for Relief;
WHEREFORE, Plaintiff seeks judgement in Plaintiff's favor and
damages against the Defendants based on the following requested relief:

Statutory Damages;
Stacked Damages;
Trebled Damages;
Enjoinder from further violations of these parts;
Costs of Litigating the action together along with all reasonable
attorney’s fees (if any);
And such other and further relief as may be necessary just and proper.

Respectfully Submitted,

x Od. 71S -2018
Clinton Strange c Dated

Pro Se

7021 Winburn Drive

Greenwood, LA 71033

318-423-5057

parsmllc@gmail.com

 

 
Case 1:18-cv-01085-RGA Document 2. Filed 07/23/18 Page 12 of 25 PagelD #: 37

EXHIBIT A

 
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led 07/23/18 Page 13 of 25 PagelD #

18-cv-01085-RGA Document 2 F

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(318) 423-5057

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Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 14 of 25 PagelD #: 39

EXHIBIT B

 
Clinton,

Car Insurance for just 23.00 per
| Month in Greenwood, LA

Go-to

| Auto-Ins-LessJ.Us

txt-6-to-end

+ , Type amesceue :

Pie

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 16 of 25 PagelD #: 41

EXHIBIT C

 

 
RAS BPS e

Message Info

From 61 09001267
Received 10:27 AM
Type Text message

Size 106 bytes

Sent To

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 18 of 25 PagelD #: 43

EXHIBIT D

 
ag ©) © Rul 67% 12:48 PM

Message Info

From O1U9UUTZ6/
“Received 10:27 AM
Type Text message
size 106 bytes
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Message Source Phone |
Thread Id 142
"Native Thread Id 148
Mes DB id 1554

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Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 20 of 25 PagelD #: 45

EXHIBIT E

 
 

 
 

 

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Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 23 of 25 PagelD #: 48

EXHIBIT F

 
Case 1:18-cv-01085-RGA Document 2 Filed 07/23/18 Page 24 of 25 PagelD #: 49

From: Todd Matherne

Sent: Friday, April 20, 2018 11:54 AM
To: Precision Appliance Repair
Subject: Re: Matherne Holding Inc

Dear Clinton Strange,

I’m sorry but | can not afford to pay you $800.00. I’m a one man company working out of my home here
in South Louisiana. | struggle just to make ends meet, like the rest of the folks down here.

The absolute most | can afford to pay you for the (1) text message | sent you is $400.

If you agree to this | can mail you a check on the 1st of May after | get paid.

Let me know if you agree to this.

Todd Matherne

Sent from my iPhone

On Apr 12, 2018, at 2:31 AM, Precision Appliance Repair <47usc227etseqg@gmail.com> wrote:

Dear Todd Matherne:
Was this “written consent’ given to you or “your affiliates and marketing partners”?

| am not able to view the “webpage/ Consent” given the information you provided.

| am not after a million dollars, and have no plans to form a class action suit, but | am
sure that there was some untoward behavior that your firm would ABSOLUTELY NOT
HAVE TO ADMIT WHATSOEVER, and perhaps we could negotiate a small pre-litigation
settlement of say $800 U.S. Dollars.

| would appreciate it very much if you and/ or your attorney would respond by 4-23-
2018.

Warmest Regards,
Clinton Strange
Sent from Mail for Windows 10

From: todd@mathernesconsulting.com todd @mathernesconsulting.com
Sent: Tuesday, April 10, 2018 6:58 PM

To: 47usc227etseq@gmail.com

Subject: Re: Matherne Holding Inc

Dear, Clinton Strange,

 
 

 

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